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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division
________________________________________________
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                        Plaintiff,                    )
                                                      )
v.                                                    )                    No. 1:15cv1106
                                                      )                     (LO / MSN)
ALL ASSETS IN AUSTRALIA AND ELSEWHERE                 )
LISTED IN ATTACHMENT A, AND ALL INTEREST, )
BENEFITS, AND ASSETS TRACEABLE THERETO,               )
                                                      )
                        Defendants in Rem.            )
                                                      )

                       CLAIMANTS’ MOTION TO DISMISS OR STAY

       PURSUANT TO RULES 12(b)(1), 12(b)(2), and 12(b)(6) of the Federal Rules of Civil

Procedure, Claimants1 move to dismiss this action. In the alternative, pursuant to 18 U.S.C.

§ 981(g)(2) and the Court’s inherent authority, Claimants renew their previously filed motion to

stay this action pending the parallel criminal action now before the Court, United States v. Kim

Dotcom, et al., No. 1:12-cr-00003-LO (E.D. Va. filed Jan. 5, 2012) (“Criminal Action”). The

grounds for granting this relief are as follows:

       1.      This is a civil forfeiture action against assets as defendants in rem, including

assets located overseas (Dkt. No. 1). The bases for forfeiture are the copyright crimes alleged in

the Criminal Action.

       2.      The Court should dismiss this action for lack of subject matter jurisdiction

because (i) the Criminal Action improperly seeks to impose criminal liability based on the

extraterritorial application of United States copyright laws, and (ii) the Criminal Action


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  The Claimants are Kim Dotcom (Dkt. No. 16), Mathias Ortmann (Dkt. No. 17), Megaupload
Limited, Megarotic Limited, Megamedia Limited, and Megavideo Limited (Dkt. No. 18).
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improperly seeks to impose criminal liability for acts that are, at most, secondary copyright

infringement, which is not a federal crime. In support, Claimants incorporate by reference their

memorandum of law in support of their motion to dismiss filed in a related action.

MEMORANDUM       OF   LAW   IN   SUPPORT   OF   CLAIMANTS’ MOTION   TO   DISMISS   AND/OR   STAY   THE

VERIFIED COMPLAINT FOR FORFEITURE IN REM, Dkt. No. 20, at 6-14, United States v. All Assets,

etc., No. 1:14-cv-969-LO-TRJ (E.D. Va. filed Oct. 10, 2014).

       3.      The Court should dismiss this action as to the foreign assets for lack of personal

jurisdiction in rem. In support, Claimants incorporate by reference their memorandum of law in

support of their motion to dismiss filed in a related action. MEMORANDUM OF LAW IN SUPPORT

OF CLAIMANTS’ MOTION TO DISMISS AND/OR STAY THE VERIFIED COMPLAINT FOR FORFEITURE IN

REM, Dkt. No. 20, at 14-17, United States v. All Assets, etc., No. 1:14-cv-969-LO-TRJ (E.D. Va.

filed Oct. 10, 2014).

       4.      The Court should dismiss the action for failure to state a claim for relief because

the Verified Complaint lacks the specificity required to state a claim for civil forfeiture. In

support, Claimants incorporate by reference their memorandum of law in support of their motion

to dismiss filed in a related action. MEMORANDUM OF LAW IN SUPPORT OF CLAIMANTS’ MOTION

TO DISMISS AND/OR STAY THE VERIFIED COMPLAINT FOR FORFEITURE IN REM,               Dkt. No. 20, at 17-

29, United States v. All Assets, etc., No. 1:14-cv-969-LO-TRJ (E.D. Va. filed Oct. 10, 2014).

       5.      In the alternative, if the case is not dismissed, Claimants renew their prior motion

to stay (Dkt. No. 21), and submit that the case should be stayed under 18 U.S.C. § 981(g)(2)

pending resolution of the Criminal Action. In support, Claimants incorporate by reference their

previously filed memorandum (Dkt. No. 22), and their memorandum of law in support of their

motion to dismiss filed in a related action. MEMORANDUM OF LAW IN SUPPORT OF CLAIMANTS’



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MOTION TO DISMISS AND/OR STAY THE VERIFIED COMPLAINT FOR FORFEITURE IN REM, Dkt. No.

20, at 29-30, United States v. All Assets, etc., No. 1:14-cv-969-LO-TRJ (E.D. Va. filed Oct. 10,

2014).

         6.     As further grounds for a stay, Claimants submit that the Court should not order

forfeiture of the defendant computer servers because data contained on them constitutes evidence

in the related criminal action and parallel civil cases. Having seized the servers, the government

has a constitutional duty to preserve them and the irreplaceable data evidence stored thereon.

         WHEREFORE, Claimants submit that this case should be dismissed or stayed.

Dated: December 19, 2017                             Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on December 19 2017, the foregoing was filed and served
electronically by the Court’s CM/ECF system upon all registered users, including:

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